 Case: 1:22-cv-05506 Document #: 49 Filed: 09/05/23 Page 1 of 1 PageID #:3322

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Paula Wallrich, et al.
                                            Plaintiff,
v.                                                       Case No.: 1:22−cv−05506
                                                         Honorable Harry D. Leinenweber
Samsung Electronics America, Inc., et al.
                                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 5, 2023:


        MINUTE entry before the Honorable Harry D. Leinenweber: MOTION by
Defendants for Leave to Submit Additional Exhibits (1) in Opposition to Petitioners'
Motion to Compel Arbitration and (2) in Support of Respondents' Motion to Dismiss is
granted [48]. Courtesy copies of these documents shall be submitted to chambers, and any
other relevant filings to the pending motions to Room 1846. Mailed notice(maf)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
